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                        EXHIBIT
                           A
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                                                                                                                                     EXHIBIT   ^
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3S             1 ,                                                                                   A
St
                                                                           REPORT COMPILED SHEET
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St
vs                                                                                                                   (circle)
'/5r«                   Identifying      Information                                                  Type Report    591  592
*&>:!
«Sfi;
                                                Cotter Corporation
       1                1.    Licensee
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                        2.    Address           Pa                         / oop
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&
m                                                            (~H#2<eccOooc> , tv /Ssup/Z /)
m                      3.     License No(s)              SUB-1022 (40-8035)
m
is-                    4.     Date of Inspection                  November 17, 1970

i                      5.     Inspector       E. C. Ashley

m
                       6.    Status of Compliance                  f\/o^Cr'^/3l//>Je/f
ma                     Items of Noncompliance

!'•** "
                       7,    Section of Regulation
m                                       or
                                                                                                     Details Paragraph

                             License Condition


                             A.    lo a pfc ao. hlo i (b)                                 A.             *2IS
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fpv                          B.                                                           B.


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                             F.                                                          F.

4.                           G.                                                          G.

                      Classified      Information
                                                                                                                             \

                      8.     This   report contains              classified or business        confidential information.
a.'                          Yes             jNo j
  i.




;StV
                                                                                        ^inspector
                                                                                                       7             Date


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*tki                                                                                     leviewer                    Date
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;V':
                                             then stored at          the   St.   Louis Airport.     Movement of this material

                                                     .   ^



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    J.
    l                                                                                                                  Cotter Corporation
                                                                                                                       License No. SUIJ-102 2
                                                                                                                       November 17,       1970



                                                                               DETAILS



                           GENERAL INFORMATION

                                                                     •         ,• •
                           9.     This was an announced inspection of this source material licensed

                                  program cbnducted on November 17,                           1970.        Mr.   David P.   Marcott,

                                  Executive         Vice President              and General Manager,               Cotter Corporation,,


                                 was notified of             this        forthcoming inspection by telephone on


                                  November 4, 1970.

:



                           10.   Dr.     E.   A.    Fulgrabe,       State of Missouri Department of Health, was


                                 notified of          this    forthcoming inspection on November 10,                           1970.      The

                                 inspector was          unaccompanied.




                          11,    Mr.     Charles      Brokaw,       an employee          of the B&K Construction Company,


                                 St.   Ann,        Missouri,    was       interviewed during this                  inspection of the


                                 licensee's source material facilities located at 9200 Latty Avenue,

                                 Hazelwood,          Missouri.           Mr.     Brokaw represents           the Cotter Corporation

                                 at    this Hazelwood, Missouri,                      site,   and has       the title of Superintendent.


                                 Also interviewed             during the inspection was Mr.                        Phillip Feeney,

                                 a member of          the    consultant           firm of Ryckman Edgerley,              Tomlinson,


                                 and Associates.              This       consultant firm has been contracted to perform


                                 the health physics activities                         for the licensee.




                          INSPECTION HISTORY


                        • 12.    In the spring' of 1966,                  the     Continental Mining and Milling Company,


                                 Chicago,      Illinois,        purchased from the AEC ore residues which were


                                 then stored at             the St.       Louis Airport,          Movement of this material

                                 from that site began on or about May 1,                              1966,      to the 920G Latty
                                                                                                                                                            Z1
                                 Avenue, Hazelwood, Missouri,                         site.    During       this   material    move,

                                 two visits         were made by           representatives            of    Region   III.     At   that

                                 time,    Continental         Mining and Milling Company possessed a License No.


                                 SMA-862      for    this    program.




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                                                                                       2                         Cotter Corporation




                                    13.     In January 1967,       the Commercial Discount Corporation of Chicago, %


                                            Illinois,    took physical possession of the Continental Mining
                                                                                                            and

                                           Milling     Company facilities          and source material stockpile.               These
                                                                        *
                                                                                                                   "




fe                                          facilities and materials were repossessed by Commercia


                                           Corporation who had acquired a license to cover storage
                                                                                                  l Discount


                                                                                                   only of

tsts                                       this material.        License No.        SMC-907 was issued to Commercial
f in
m                                          Discount Corporation on December 29,                 1966.   On June 28,      1967,




u
                                           License No.     SMC-907 was amended to allow the removal of moisture
                                                                                                                                          !
                                           and shipment of       the



it|
                                                                        source material from the Hazelwood,              Missouri, -

                                           facility,    to the Cotter Corporation facilities in Canon City,

                                           Colorado.     This operation was           conducted by Commercial Discount

                                           Corporation on and off during. 1967 and 1968.                 It was    learned

                                           that during that       time,      approximately 47,000 "wet tons" had been


ffil                                       shipped to the. Cotter Corporation so far, and that
                                                                                               as of May 1969,

iai
llissi
                                          approximately 30,000 "dry tons" of the material remained,
                                                                                                    according

                                          to Commercial        Discount      Corporation representatives.
m                                                                                                                 A visit to



m
                                          the Hazelwood, Missouri,             site, was' made by Region III in April

                                          1970.    At that time,        the facility was at a complete standstill

m                                         and only security guards were onhand and advised
                                                                                           that no work


is                                        had been done at       that       site during 1969.


m'
SfiS                            14.       The remaining source material was sold to the Cotter
                                                                                               Corporation of


     fm                                   Roswell,    New Mexico,       in December     1969.     For this    program,    the    Cotter

m          •                              Corporation obtained License No.              SUB-1022.

i;:w
                               15.        An inspection of the source material program as
                                                                                                             conducted by Cotter

                                          Corporation was       conducted on November 17, 1970, and is
           A                                                                                                           the subject

                                      of this        report.    All information         contained in this report is presented

                                      in substance        unless    otherwise       indicated.


'i

                               PROGRAM

                              16.     This    licensed program is essentially                 the same which was       conducted by

                                      the Commercial Discount Corporation.                    The use of a drying method

                                      is used because of the high cost of shipping the wet
                                                                                           source material

                                      to Colorado,        Mr.    Brokaw advised that only 50% of the water content

                                      is being       removed during         this   program.     The beginning    content is
                                                                                                                                              A
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                                                                                  3 -                       Cotter Corporation




                                         approximately 80% water of the total weight and
                                                                                         is removed down

                                         to approximately 40% when being shipped.                The different    types

                                        of material being handled»at this               site include C-slag,     unleached

                                        barium sulfate, barium .sillfate cake,            and Colorado raffinates.

                                        During this      inspection,    it was learned that         the Colorado raffinates

                                        were being dryed and shipped at the present
                                                                                    time.

• ?


 f                              17.    According     to Mr.   Brokaw,    the normal full day's work usually yields
 i
                                       between 350 and 450 "dry tons" which fills between
                                                                                          five and six

                                       open top    coal
 S>                                                       cars.   This   current program began August 13,              1970,
 £
 h                                     and according to the licensee's records, materials
                                                                                          have been
 !                                     shipped on approximately '50 days since that time.
                                                                                                            The. average
 t]
                                       quantity of material per day has been approxim
                                                                                     ately 400 tons .

                                       In addition to this 'material,        107 barrels       of materials have been
 r;
 &                                     shipped to    the Colorado facility of Cotter.



 I
                              ORGANIZATION AND ADMINISTRATIVE             CONTROL

 (i                           18.      Cotter Corporation has its home office in
                                                                                 Roswell,                  New Mexico.

                                      The source material from the Hazelwood,               Missouri,   facility,      is

                                      being shipped to the Cotter Corporation's               uranium processing

                                      facilities    located in Canon City,          Colorado,     The licensee has

                                      a working agreement with the B&K Construction
                                                                                    Company of St. Ann,


 i                                    Missouri,    to handle all of the materials            under this license in

                                      Hazelwood.     The B&K Construction Company maintains                control over
 'I
                                      the Hazelwood* site and is assisted in this
                                                                                                function by off-duty

                                      policemen serving as security guards.               This security guard force

                                      is in effect seven days a week,         24 hours a day.         At    the same   time,

                                      the licensee has      contracted a consultant         firm,   Ryckman,    Edgerley,

                                      Tomlinson,    and Associates,      of St.    Louis,   Missouri,      to handle the

                                      health physics activities of this Hazelwood program.



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                        FACILITIES      AND EQUIPMENT


                       19.     It was noted that         the same facilities       and equipment were being used

                               as were noted during the previous              inspections     of this program.     A
                                                                 4
                               Norfolk and Western Railwajr Company industrial
                                                                               map indicates the

                               licensee's facilities are located on a 3.5
                                                                          acre plot of ground

                               and   7.5 dcres which have been leased            from the Norfolk and Western


                              Railway Company.          This plot of ground is located at 9200 Latty

                              Avenue,    Hazelwood, Missouri.        At this      location,    Latty Avenue

                              dead ends    at    the Cold Water Creek.          A spur line from the Norfolk

                              and Western Railway Company bounds               the licensee's    facility on

                              the west between         the licensee's       facility and Cold Water Creek.

                              The buildings of the licensee's               facility are located on that

                              3.5 acre plot while the source material
                                                                      is stored on the 7.5 acre

                              lot,   which has been leased from the Norfolk
                                                                                       and Western Railway

                              Company.




                      20.    The licensee utilizes four buildings.
                                                                                  One of these buildings       is a

                             permanent flat topped three room buildin
                                                                      g located on the north portion

                             of the site.        This building is used as         an office building and part-

                             time living quarters and is located
                                                                 outside of the fenced-in area.

                             Directly    south of      the office building is       a metal fabricated building

                             used primarily as         equipment and vehicle storage.           This building is

                             located within      the    fenced and restricted area with          the north edge

                             of the building being a portion of the
                                                                    fence line.                  Located to the

                             southeast of      the office building,         to the northeast of the storage           \

                             building,    is   a smaller metal building used for miscella
                                                                                          neous storage

                             and locker room and shower facilities
                                                                                for employees.     This particular

                            smaller building is         located outside the fenced area with          the south

                            and east walls of       the building being a portion of            the fence line.

                            Directly     to the south of the vehicle storage building
                                                                                      is a very large

                            building     (about four times larger than the vehicle
                                                                                   storage building).

                            It is within this building that the licensee
                                                                         performs the drying

                            operation.     During this inspection, the licensee's consulta
                                                                                           nt firm




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                                                                               - 5                          Cotter           Corporation




                                supplied a sketch of the property showing the four buildings,                                           the

!                               railroad spur,         and the source material storage areas,                             A copy of

;
                                this sketch is attached to .this report as Exhibit A.




                     21.       The drying equipment consists of three main parts.                                They are the

                               natural gas Barber-Greene Model 838 dryer,                         a Barber-Green Model 858

                               dust collector,           and a Model CN-70 wet scrubber utilizing a recircu

                               lated water system.                     The licensee has dug two large holes                  directly


                               south of        the drying operation.                 One of these holes         is lined with

                               a plastic sheet           and is          used as a settling pond for            the    freshly


                          .    scrubbed drying exhaust.                     A small    trench   connects    this settling

                               pond with a second pond from which water is                         drawn and recirculated

                               through      the system.




                    22.        Other equipment utilized by the licensee are various pieces of earth-


                              moving equipment.




                    PROCEDURES


                    23.       A load of the source material is brought into                         the large building in

                              one of     the earth movers where the material is                     gravity fed onto a


                              conveyor belt and is                     transferred to   the   top of the drying unit.


                              The material is          allowed to enter a large inclined rotating cylinder


                              and as it        falls   down            and into the inside of the cylinder,                 the material

                              is   dryed.       When   the material reaches              the lower end of this               rotating
                                                                                                                                              \
                              cylinder,        it is picked up by another conveyor and brought outside


                              of the building on the southwest corner and loaded into open topped


                              railroad cars.           Barring           any unforeseen interruptions,               this    is    a


                              continuous operation from the time                       the loader vehicle brings                  the

                              material into        the   building and the              dry material is put            into    the

                              cars .     The   approximately particle size of                   the newly   dryed material


                              appears to be somewhat like sand or cinders.                         When a railroad car


                              has been filled,           the material is             sprayed with a plastic known as


                              Aerospray 52 Binder which is a water emulsion of a synthetic resin.

                              This     spray is   to prevent dusting during transport.




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                                                                            - 6                              Cotter Corporation




                    POSTING AND LABELLING


                    24.    The    licensee has            numerous     signs posted throughout               the area Including


                           on    the material piles              themselves         and at several locations              on the fence

                                                                            «*
                           surrounding the entire area-                          Each of    the signs showed the            conventional

                           radiation symbol in colors of magenta on yellow and either "Caution,

                           Radioactive Material," or "Caution,                         Radiation Area."




                   25.     A Form AEC-3,           "Notice to Employees," was posted in the office building


                           and in      the    locker and shower room area.                      .




                   PERSONNEL MONITORING AND SURVEYS


                   26.    The    B&K Construction Company has                      employed a total of nine persons


                          for this operation.                  In addition to Mr.             Brokaw,   the Superintendents


                          there is one mechanic,                   four operation engineers,             and three laborers.

                          All nine persons               are assigned an R.           S.    Landauer film badge.                  The

                          film badges are exchanged weekly.                          A review of the R.            S. Landauer

                          film badge reports for nine film badge periods between the end of


                          August and the end of October showed the maximum exposure received


                          by any one person as                 indicated by         the film badge to .be 110 millirem.


                          The    other    film badge           results      ranged from minimal to            80 millirem for


                          that period.




                   27.    According to Mr.               Brokaw, all persons are required to change their

                          clothes daily after working with the source material.                                    Also,          respirators

                          are    required         for    three   of   the    persons,       namely,    the   car   loader,


                          the    pit   cleaner,          and the person who is              assigned    to keep     the     first


                          conveyor       clear      of    rocks.      (It was noted that the final conveyor

                          leading to         the railroad car was completely covered.)




               28.        Health physics surveys performed by the licensee's consultant include

                          stream samples,               fallout tray samples,              radiation level surveys at

                          the    fence   line,       and air sampling of work areas.                    The maximum downstream

                          sample has         shown       30   counts per minute         for    a 500 milliliter sample                   of


                          dissolved solids and a maximum of 126 counts per minute of the settled

                          out   solids       of   the    500 milliliter           stream sample.        Assuming 1% counting




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                             efficiency and 4.4 x 10^ dpm/uc for natural uranium
                                                                                 , this highest
                             sample result        for insoluble uranium shows approx                 -6
                                                                                    imately 4.5 x 10

                             uc/ml.     Radiation levels odtside the fenced-in
                                                                               area have shown less

                             than 0.6 mr/hr at 18" from the fence.
                                                                                      This was confirmed by

                             independent measurements by the
                                                             AEC representative during                          the

                             inspection.         According to the licensee's            consultants, air samples

                            are taken in the working areas
                                                                        during the drying operations using

                            a high vol air sampler.            The consultant advised that Wattma
                                                                                                 n filter

                            paper is    used for this     sampling,.         Mr.    Feeney stated that the air

                            samples    and analyses are made in the followi
                                                                           ng manner: A one-hour

                            sample is     taken at a rate of 50          cubic feet per minute.            The material

                           which is collected on the Wattma
                                                            n filter paper is scraped off and

                           weighed.      A slurry is made of this              material and plated on a planch
                                                                                                               et

                           and is     counted with a thin window Geiger
                                                                        -Mueller counter and scaler

                           unit.      Feeney stated that this          counting equipment has a 1% efficie
                                                                                                           ncy

                           and that the calibration standard
                                                             is                   radium 226.        The results      of   the

                           air samples are reported by           the    consultant in their survey reports
                                                                                                                             in

                           terms of milligrams /cu. yd.          and counts per minute per gram.                   Both

                          Mr.   Feeney and his       supervisor,       Dr.   Edgerley of       the   consultant firm,

                          were advised that         the literature       concerning high vol air sample
                                                                                                        rs

                          shows that while using Wattman filter
                                                                paper,                       the flow rate which can

                          be expected is between 18 and
                                                        25               cu.      ft./min.    Also,    if enough

                          material is      collected on the      filter paper          that   it can be scraped

                          off at the end of the sampling
                                                         period,                   then it    appears    that   the

                          flow rate would be         zero at   the end of a sampling time.
                                                                                                          In addition,

                          it appears     that radium 226 would give an erroneo
                                                                               us                    calibration of

                          thin window Geiger-Mueller counte
                                                           r when analyzing for uranium,
                                                                                                                      Based
                         on the    above information,      the   licensee is          in noncompliance wi th

                         10 CFR 20.201(b)         in that air sample surveys have been
                                                                                       totally inadequate

                         to determine concentrations           of radioactive materials               to which persons

                         are exposed pursuant to 10 CFR 20.
                                                                             Some of the      data,    as reported by

                         the consultant,         for air samples are         as    follows:   On September 10,         1970.,

                         inside shed shows 6.88 milligrams
                                                           per cubic yard and in the loading




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 &V4 .                                                                                                                         Cotter Corporatio
                                                                                                                                                 n
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                                          area, 9.18 milligr
 w
•mx
                                                             ams/cu. yd.
                                                                                                 On September 28,
                                                                                                                            1970,    the   loading
                                          area showed 19.7
                                                          0 milligrams/cu.
is?                                                                                                  yd.        Mr. Feeney stated
                                                                                                                                  that this
ISIS                                      is milligrams of
                                                           total material
                                                                          per cubic yard

la                                        was       performed on
                                                                       the   September 10
                                                                                         of air.

                                                                                                     inside shed sam
                                                                                                                    ple          and
                                                                                                                                       Counting


                                                                                                                                       showed
                                          1183 counts/min
                                                          per gram.
                                                                             <

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m                           MANAGEMENT DISC
                                            USSION

mi                          29.        The results             of this inspection
                                                                                  were initially
Iff                                   Mr.       Charles Brokaw,
                                                                                                 discussed with

                                                                         Superintendent
                                                                                                     on the site,          and with Mr.     Phil Feeney,
                                      Project Enginee
                                                      r with the license
                                                                         e's                              consultant firm
                                                                                                                          .         Subsequent
m                                     to the inspection
                                                        , Mr,                    David P.       Marcott,         Executive Vice
                                                                                                                                President
                                      and General Man

Pi       r
                                .    member of
                                                      ager,


                                                         the    consultant
                                                                          Cotter Corporati
                                                                                           on,                   and Dr.   Edgerley,    principal

                                                                                  firm, were             contacted by      telephone and

IS                                   given the results
                                                       of this inspection
                                                                          .                                The licensee rep
                                                                                                                                                .



Ife                                  were advised of
                                                     the inadequacie
                                                                     s                          of   the
                                                                                                                           resentatives

                                                                                                            air sampling and

SR                                   as   performed by           the   consultant firm
                                                                                       .                  Dr.
                                                                                                                             analyses,

                                                                                                                 Edgerley stated
St;      W:
                                     air sampling met
                                                      hods               and analyses met
                                                                                                                                     that   the

                                                                                          hods would be
                                                                                                        modified to


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ffsj                        .
                                     comply with 10


                                    prevent cloggin
                                                     CFR 20, such as


                                                    g of filter pap
                                                                      shorter duratio


                                                                     er, counting of
                                                                                      n air sampling
                                                                                                       to

                                                                                      the actual filt
                                                                                                      er paper


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                                    itself, and cal


                                    standard.
                                                    ibration of the


                                                         The   results
                                                                      counting equipm
                                                                                      ent with a uranium

                                                                          of the air sam
                                                                                         ples would then
mi                                                                                                       be reported
                                    in terms of uc/ml
                                                      of air sampled,
                                                                       Mr. Marcott was
                                                                                        advised that
                                    the licensee may
                                                     expect to receive
                                                                       further commun
mi                                  the results of
                                                                                       ication regarding

                                                   this inspection.

                      Attachment:

fs"                   Exhibit A


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fei                                     *    FIGURE 1                             STATION*3<                      Sulfate
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                                    it X RADIATION. M3NIT0RING SURVEY                                             /UZ^jU/      J
§a.                                          Co'f/p,                                        ^>1
                                                                                                                                                X


 If!                                         Values of Gross Activity in MR/hr                                                                  X
ISM                                          from fence line, chest height
                                                                               at                                   18 in.

                                                                                                                                        x
to                                      x
                                             Sketch not              to   scale

5S7


                                                                                                                               f0£/T                      A
                                                                 X
                                                                                                     X



      \                                                                       R.E.T.A. 780
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                                                                 TP




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